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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 ROBERT SCOTT,

                       Plaintiff,                      Civil Action No. ___________

         v.
                                                       COMPLAINT FOR VIOLATIONS
 CENTENNIAL RESOURCE                                   OF THE SECURITIES EXCHANGE
 DEVELOPMENT, INC., SEAN R. SMITH,                     ACT OF 1934
 MAIRE A. BALDWIN, MATTHEW G.
 HYDE, PIERRE F. LAPEYRE, JR., DAVID
 M. LEUSCHEN, VIDISHA PRASAD,
 STEVEN J. SHAPIRO, JEFFREY H.                         JURY TRIAL DEMAND
 TEPPER, and ROBERT M. TICHIO,

                       Defendants.

       Plaintiff Robert Scott (“Plaintiff”) alleges the following upon information and belief,

including investigation of counsel and review of publicly available information, except as to those

allegations pertaining to Plaintiff, which are alleged upon personal knowledge:

                                    NATURE OF THE ACTION

       1.      Plaintiff brings this action against Centennial Resources Development, Inc.

(“Centennial” or the “Company”) and Centennial’s Board of Directors (the “Board” or the

“Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. § 240.14a-9,

arising out of the Board’s attempt to merge with Colgate Energy Partners III, LLC (“Colgate”).

       2.      Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading definitive proxy statement (the “Proxy”) to be

filed with the Securities and Exchange Commission (“SEC”) on July 28, 2022. The Proxy

recommends that Centennial stockholders vote in favor of a proposed transaction (the “Proposed

Transaction”) whereby Centennial’s wholly-owned subsidiary, Centennial Resource Production,


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LLC (“CRP”), will merge with and into Colgate, with CRP surviving the merger and continuing

as a subsidiary of Centennial. The Proposed Transaction was first disclosed on May 19, 2022,

when Centennial and Colgate announced that they had entered into a definitive business

combination agreement (the “Merger Agreement”) pursuant to which Centennial will issue

269,300,000 shares of Centennial Class C common stock and 269,300,000 units in CRP (the

“Stock Issuance”) and pay $525,000,000 in cash (along with the Stock Issuance, the “Merger

Consideration”) in exchange for Colgate Energy Partners III MidCo, LLC (the “Colgate

Unitholder”)’s sole membership interest in Colgate. The deal is valued at approximately $7 billion

and is expected to close in the in the second half of 2022.

       3.      The Proxy is materially incomplete and contains misleading representations and

information in violation of Sections 14(a) and 20(a) of the Exchange Act. Specifically, the Proxy

contains materially incomplete and misleading information concerning the financial projections

prepared by Centennial management, as well as the financial analyses conducted by Citigroup

Global Markets Inc. (“Citi”), Centennial’s financial advisor.

       4.      For these reasons, and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Stock Issuance and/or the Proposed

Transaction, including filing an amendment to the Proxy with the SEC or otherwise causing an

amendment to the Proxy to be disseminated to Centennial’s stockholders, unless and until the

material information discussed below is included in any such amendment or otherwise

disseminated to Centennial’s stockholders. In the event the Stock Issuance and/or the Proposed

Transaction is consummated without the material omissions referenced below being remedied,

Plaintiff seeks to recover damages resulting from the Defendants’ violations.




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                                              PARTIES

       5.        Plaintiff is, and has been at all relevant times, the owner of shares of common stock

of Centennial.

       6.        Defendant Centennial is a corporation organized and existing under the laws of the

State of Delaware. The Company’s principal executive offices are located at 1001 Seventeenth

Street, Suite 1800, Denver, Colorado 80202. Centennial common stock trades on the Nasdaq

Capital Market under the ticker symbol “CDEV.”

       7.        Defendant Sean R. Smith has been the Chief Executive Officer and a director of

the Company since 2020.

       8.        Defendant Maire A. Baldwin has been a director of the Company since 2016.

       9.        Defendant Matthew G. Hyde has been a director of the Company since 2018.

       10.       Defendant Pierre F. Lapeyre, Jr. has been a director of the Company since 2016.

       11.       Defendant David M. Leuschen has been a director of the Company since 2016.

       12.       Defendant Vidisha Prasad has been a director of the Company since 2021.

       13.       Defendant Steven J. Shapiro has been a director of the Company since 2019.

Defendant Shapiro serves as Chairman of the Board.

       14.       Defendant Jeffrey H. Tepper has been a director of the Company since 2016.

       15.       Defendant Robert M. Tichio has been a director of the Company since 2016.

       16.       Nonparty Colgate is a privately-held oil and natural gas company based in Midland,

Texas. Colgate’s principal executive offices are located at 300 N. Marienfeld Street, Suite 1000,

Midland, Texas 79701.

                                  JURISDICTION AND VENUE

       17.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange



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Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        18.     Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        19.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because a significant amount of the conduct at issue took

place and had an effect in this District.

                         FURTHER SUBSTANTIVE ALLEGATIONS

    A. Background of the Company and the Proposed Transaction

        20.     Centennial is an independent oil and natural gas company focused on the

development of oil and associated liquids-rich natural gas reserves in the Permian Basin. The

Company’s assets and operations, which are held and conducted through CRP are concentrated in

the Delaware Basin, a sub-basin of the Permian Basin.

        21.     On May 19, 2022, the Company entered into the Merger Agreement with Colgate.

According to the press release issued that day announcing the Stock Issuance and the Proposed

Transaction:

        Centennial Resource Development and Colgate Energy to Combine, Creating
                          $7.0 Billion Permian Basin Pure-Play

        DENVER and MIDLAND, Texas, May 19, 2022 (GLOBE NEWSWIRE) --
        Centennial Resource Development, Inc. (“Centennial” or the “Company”)
        (NASDAQ: CDEV) and Colgate Energy Partners III, LLC (“Colgate”) today
        announced they have entered into an agreement to combine in a merger of equals
        transaction. The combined company will be the largest pure-play E&P company in
        the Delaware Basin with approximately 180,000 net leasehold acres, 40,000 net
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royalty acres and total current production of approximately 135,000 Boe/d. The
combined company plans to leverage its high-quality, scaled asset base to drive
leading shareholder returns.

Key Highlights

   ● High-quality, complementary asset base with differentiated inventory depth
     to support sustainable free cash flow growth
   ● Positioned to significantly increase cash returns to shareholders, with over
     $1 billion of expected free cash flow1 in 2023 at current strip prices
   ● Highly accretive to key financial metrics, including cash flow, free cash
     flow and net asset value per share
   ● Strong balance sheet with expected leverage2 below 1.0x at year-end 2022
   ● Sean Smith to serve as Executive Chair of the Board; Will Hickey and
     James Walter to serve as Co-CEOs
   ● Significant equity ownership of combined management team aligns with
     shareholders
   ● Shared commitment to prioritizing ESG with continued focus on reducing
     environmental impact

Management Commentary

“This transformative combination significantly increases scale and drives accretion
across all our key financial and operating metrics. Colgate’s complementary, high-
margin assets are a natural fit for Centennial, creating the largest pure-play E&P
company in the Delaware Basin,” said Sean Smith, Chief Executive Officer of
Centennial. “Importantly, the combined company is expected to provide
shareholders with an accelerated capital return program through a fixed dividend
coupled with a share repurchase plan. We are excited to partner with Colgate as we
share a common vision for the pro forma company that includes a strong balance
sheet, a disciplined investment program to drive cash flow and a robust return-of-
capital program.”

“The Colgate and Centennial teams have each demonstrated a track record of
execution through the years, and we are excited to assume leadership roles in the
new company to build upon that success and guide the next phase of value creation.
Both companies have established strong financial and operational cultures, and we
expect the combined company will be a top-tier, low-cost operator that is able to
deliver better margins and shareholder returns,” said Will Hickey, Co-CEO of
Colgate.

“The merger of Colgate and Centennial is compelling from a financial, operational
and strategic standpoint, establishing a leading Permian Basin independent. We
believe the pro forma company is positioned to maximize returns for our new
investor base, with our combined management team bringing a track record of
operational excellence and strategic value creation. Management’s significant

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ownership in the combined company should give investors confidence that long-
term value creation will always be our top priority,” said James Walter, Co-CEO
of Colgate.

Transaction Details

The approximately $7.0 billion merger of equals values Colgate at approximately
$3.9 billion and is comprised of 269.3 million shares of Centennial stock, $525
million of cash and the assumption of approximately $1.4 billion of Colgate’s
outstanding net debt. Given existing cash balances and interim free cash flow, the
company expects its net debt-to-LTM EBITDAX ratio at closing to be
approximately 1.0x. The cash consideration and the repayment of Colgate’s
outstanding credit facility borrowings at closing are expected to be funded with
cash on hand and borrowings under an upsized revolving credit facility.

The transaction has been unanimously approved by the Boards of Directors of both
companies and is expected to close in the second half of 2022. The company intends
to provide detailed forward-looking guidance for the remainder of 2022 at or
shortly after closing of the transaction.

Differentiated E&P Platform

   ● Return of Capital. The scaled cash flow base and balance sheet of the
     combined company provides clear line of sight to significant near-term
     shareholder returns.
   ● Combining Best Practices. The combined company intends to integrate
     leading-edge operational practices from two, highly skilled teams with
     proven track records. This leveraging of best practices from both
     organizations positions the combined company for continued success.
   ● Deep Inventory of High-Return Locations. The combined company’s
     adjacent acreage position, coupled with its high-return inventory supports a
     highly capital-efficient development plan and provides operational
     flexibility. Upon closing, the combined company will have over 15-years of
     drilling inventory, assuming its current drilling pace.
   ● Maximizing Shareholder Alignment. Upon closing, the combined
     company will have one of the largest management ownership interests of
     any public E&P company, with the management team owning
     approximately 12% of the pro forma total shares outstanding. As a result,
     the company will be highly focused on increasing shareholder value.
   ● Commitment to ESG and Sustainability. As both companies have
     demonstrated significant reductions in emissions intensity and natural gas
     flaring to date, ESG excellence will continue to be a core competency of the
     combined company.




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                                         *      *       *

       “Centennial and Colgate are a clear strategic fit, combining two complementary
       acreage footprints in the core of the Delaware Basin. We are firm believers in the
       combined management team and their strategy, and we look forward to creating
       additional long-term value for stakeholders,” said William Quinn, Founder and
       Managing Partner of Pearl.

       Immediately following the closing, existing Centennial shareholders will own
       approximately 53% of the combined company, and existing Colgate owners will
       own approximately 47% of the combined company. Centennial’s largest
       shareholder, Riverstone, which currently owns approximately 25% of Centennial’s
       outstanding shares, has executed a Voting and Support Agreement in connection
       with the transaction. The closing of the merger is subject to customary closing
       conditions, including approval by Centennial shareholders and regulatory
       approvals.

   B. The Materially Incomplete and Misleading Proxy

       22.     On July 28, 2022 Defendants filed the Proxy with the SEC. The purpose of the

Proxy is, inter alia, to provide the Company’s stockholders with all material information necessary

for them to make an informed decision on whether to vote in favor of the Stock Issuance and/or

the Proposed Transaction. However, significant and material facts were not provided to Plaintiff.

Without such information, Plaintiff cannot make a fully informed decision concerning whether to

vote in favor of the Stock Issuance and/or the Proposed Transaction.

                      Materially Incomplete and Misleading Disclosures Concerning the
                      Management-Prepared Financial Forecasts

       23.     The Proxy discloses management-prepared financial projections for the Company

which are materially misleading. The Proxy indicates that in connection with the rendering of

Citi’s fairness opinion, Citi reviewed “certain financial forecasts and other information and data

relating to Colgate and Centennial prepared by the management of Centennial.” Accordingly, the

Proxy should have, but failed to, provide certain information in the projections that Centennial’s

management provided to the Board and Citi.



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       24.     Notably, Defendants failed to disclose the line item entries forming the basis of the

Company’s: (a) EBITDAX; (b) Cash Flow from Operations (Pre-NWC); (c) Free Cash Flow

(Levered); and (d) Free Cash Flow (Unlevered) for forecasts for Centennial and Colgate using the

NYMEX strip pricing and the Wall Street consensus pricing.

       25.     The Proxy also fails to disclose the information and data provided to or discussed

with Citi by Centennial management “relating to potential strategic implications, cost savings, tax

benefits and other financial and operational benefits (including the amount, timing and

achievability thereof) anticipated by such management” as a result of the Proposed Transaction.

       26.     This omitted information is necessary for Plaintiff to make an informed decision on

whether to vote in favor of the Stock Issuance and/or the Proposed Transaction.

                       Materially Incomplete and Misleading Disclosures Concerning Citi’s
                       Financial Analyses

       27.     With respect to the Discounted Cash Flow Analysis, the Proxy fails to disclose, for

both Colgate and Centennial: (a) the terminal values; and (b) the key data, inputs, and assumptions

that form the basis of the range of discount rates applied by Citi.

       28.     With respect to the Selected Precedent Transactions Analysis, the Proxy fails to

disclose the specific financial multiples and metrics for each transaction studied.

       29.     With respect to the Selected Public Companies Analysis, the Proxy fails to disclose

the specific financial multiples and metrics for each company studied.

       30.     With respect to the Net Asset Value Analysis performed by Citi for both Colgate

and Centennial, the Proxy fails to disclose: (a) the unlevered, after-tax free cash flows that Colgate

was projected to generate from Colgate’s proved developed reserves, drilled uncompleted reserves

and currently undeveloped reserves in Texas and New Mexico, net of general and administrative

expenses; (b) the unlevered, after-tax free cash flows that Centennial was projected to generate

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from Centennial’s proved developed reserves and currently undeveloped reserves in Texas and

proved developed reserves, drilled uncompleted reserves and currently undeveloped reserves in

New Mexico, net of general and administrative expenses; and (c) the key data, inputs and

assumptions forming the basis of the range of discount rates applied by Citi.

       31.     With respect to the Illustrative Has/Gets Analysis performed by Citi, the Proxy fails

to disclose: (a) the anticipated strategic implications, cost savings, tax benefits and other financial

and operational benefits expected by Centennial to result from the Proposed Transaction; (b)

estimated debt to be incurred or assumed by Centennial in connection with the Proposed

Transaction; and (c) the fiscal year 2023 estimated cash flow and fiscal year 2023 estimated free

cash flow yield of Centennial on a pro forma basis.

       32.     This information is necessary to provide Company stockholders a complete and

accurate picture of the sales process and its fairness. Without this information, Plaintiff is not fully

informed as to the Defendants’ actions, including those that may have been taken in bad faith, and

cannot fairly assess the process. And without all material information, Plaintiff is unable to make

a fully informed decision in connection with the Stock Issuance and the Proposed Transaction and

faces irreparable harm, warranting the injunctive relief sought herein.

       33.     In addition, the Individual Defendants knew or recklessly disregarded that the

Proxy omits the material information concerning the Stock Issuance and the Proposed Transaction

and contains the materially incomplete and misleading information discussed above.

       34.     Specifically, the Individual Defendants undoubtedly reviewed the contents of the

Proxy before it was filed with the SEC. Indeed, as directors of the Company, they were required

to do so. The Individual Defendants thus knew or recklessly disregarded that the Proxy omits the

material information referenced above and contains the incomplete and misleading information



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referenced above.

          35.   Further, the Proxy indicates that on May 18, 2022, Citi reviewed with the Board its

financial analysis of the Merger Consideration and delivered to the Board an oral opinion, which

was confirmed by delivery of a written opinion of the same date, to the effect that the Merger

Consideration was fair, from a financial point of view, to Centennial stockholders. Accordingly,

the Individual Defendants undoubtedly reviewed or were presented with the material information

concerning Citi’s financial analyses which has been omitted from the Proxy, and thus knew or

should have known that such information has been omitted.

          36.   Plaintiff is immediately threatened by the wrongs complained of herein, and lacks

an adequate remedy at law. Accordingly, Plaintiff seeks injunctive and other equitable relief to

prevent the irreparable injury that he will continue to suffer absent judicial intervention.

                                     CLAIMS FOR RELIEF

                                             COUNT I

Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9

          37.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          38.   Defendants have filed the Proxy with the SEC with the intention of soliciting

Centennial stockholder support for the Stock Issuance and the Proposed Transaction. Each of the

Individual Defendants reviewed and authorized the dissemination of the Proxy, which fails to

provide the material information referenced above.

          39.   In so doing, Defendants made materially incomplete and misleading statements

and/or omitted material information necessary to make the statements made not misleading. Each

of the Individual Defendants, by virtue of their roles as officers and/or directors of Centennial,

were aware of the omitted information but failed to disclose such information, in violation of
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Section 14(a).

       40.       Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that such communications with stockholders shall not contain “any statement which,

at the time and in the light of the circumstances under which it is made, is false or misleading with

respect to any material fact, or which omits to state any material fact necessary in order to make

the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

       41.       Specifically, and as detailed above, the Proxy violates Section 14(a) and Rule 14a-

9 because it omits material facts concerning: (i) management’s financial projections; and (ii) the

value of Centennial shares and the financial analyses performed by Citi in support of its fairness

opinion.

       42.       Moreover, in the exercise of reasonable care, the Individual Defendants knew or

should have known that the Proxy is materially misleading and omits material information that is

necessary to render it not misleading. The Individual Defendants undoubtedly reviewed and relied

upon the omitted information identified above in connection with their decision to approve and

recommend the Stock Issuance and the Proposed Transaction; indeed, the Proxy states that Citi

reviewed and discussed its financial analyses with the Board during various meetings including on

May 18, 2022, and further states that the Board considered Citi’s financial analyses and fairness

opinion in connection with approving the Stock Issuance and the Proposed Transaction. The

Individual Defendants knew or should have known that the material information identified above

has been omitted from the Proxy, rendering the sections of the Proxy identified above to be

materially incomplete and misleading.

       43.       The misrepresentations and omissions in the Proxy are material to Plaintiff, who

will be deprived of his right to cast an informed vote if such misrepresentations and omissions are



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not corrected prior to the vote on the Stock Issuance and the Proposed Transaction. Plaintiff has

no adequate remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff

be fully protected from the immediate and irreparable injury that Defendants’ actions threaten to

inflict.

                                              COUNT II

   Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act

           44.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

           45.   The Individual Defendants acted as controlling persons of Centennial within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Centennial and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

           46.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to the time the

Proxy was filed with the SEC and had the ability to prevent the issuance of the statements or cause

the statements to be corrected.

           47.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act



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violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Stock Issuance and the Proposed Transaction. The

Proxy at issue contains the unanimous recommendation of each of the Individual Defendants to

approve the Stock Issuance and the Proposed Transaction. They were, thus, directly involved in

the making of the Proxy.

       48.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Merger Agreement. The

Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       49.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       50.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in his favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from filing an amendment to

the Proxy with the SEC or otherwise disseminating an amendment to the Proxy to Centennial



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stockholders unless and until Defendants agree to include the material information identified above

in any such amendment;

          B.   Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Stock Issuance and/or the Proposed Transaction, unless and until

Defendants disclose the material information identified above which has been omitted from the

Proxy;

          C.   In the event that the transaction is consummated prior to the entry of this Court’s

final judgment, rescinding it or awarding Plaintiff rescissory damages;

          D.   Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          E.   Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          F.   Granting such other and further equitable relief as this Court may deem just and

proper.




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                                      JURY DEMAND

     Plaintiff demands a trial by jury.

Dated: August 13, 2022                       ROWLEY LAW PLLC


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